
Smith, J.
— “ We think the instruction was not objectionable. The indictment, in effect, charges a malicious injury to ‘public property,’ under §71, ch. 53, p. 975, of the Revised Statutes, and was sufficiently sustained by tbe proof. The fee simple of the land upon which the county seminaries are erected, is held in the name of the State, but the boards of county commissioners, of the respective counties. *370have the charge of the buildings and of the effects of the seminaries. R. S. ch. 27, p. 304,
“ We also think, the injury charged to have been done to the property, is stated with sufficient certainty in the indictment, and that the case does not come within that of The State v. Aydclott."
Judgment affirmed, A c.
